




Dismissed and Memorandum Opinion filed December 30, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed December 30, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00811-CR

____________

&nbsp;

CHARSTON LOUIS MEACHUM, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 177th District
Court

Harris County, Texas

Trial Court Cause No. 1117202

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not issued an
opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Guzman and Brown. 

Do not publish C Tex.
R. App. P. 47.2(b).





